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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 24-60541-CIV-SINGHAL/STRAUSS

  VICTOR ARIZA,

         Plaintiff,

  v.

  THE ESCAPE GAME, LLC,

       Defendant.
  _________________________________________/

                                           ORDER

         THIS CAUSE has come before the Court on the parties’ Joint Notice of Settlement

  (DE [16]). The Court having carefully reviewed the file, and being otherwise fully advised,

  it is hereby

         ORDERED AND ADJUDGED that the above-styled action is administratively

  CLOSED without prejudice to the parties to file a Notice of Dismissal by June 28, 2024.

  Furthermore, the Court retains jurisdiction over the case until the settlement is

  consummated. The Clerk of Court shall CLOSE this case for administrative purposes

  only. Any pending motions are DENIED AS MOOT and all deadlines and hearings are

  CANCELLED.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 31st day of

  May 2024.




  Copies furnished counsel via CM/ECF
